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      Fill in this information to identify the case:

                  GOLD'S GYM FRANCHISING, LLC
      Debtor name __________________________________________________________________
                                              NORTHERN
      United States Bankruptcy Court for the: ______________________             TEXAS
                                                                     District of _________

      Case number (If known):   20-31322
                                _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if     Deduction for      Unsecured
                                                                                                                   partially           value of           claim
                                                                                                                   secured             collateral or
                                                                                                                                       setoff

1    DAVID NOE SALVADOR,         C/O JAMES S. MECHLER LITIGATION                                   C,D                                                  UNKNOWN
     AS NEXT FRIEND OF D.A.S.S.,   16500 SAN PEDRO AVE.
     A MINOR                       SUITE 302
                                   SAN ANTONIO, TX 78232
     AARON VASQUEZ               C/O REYNALDO L. DIAZ    LITIGATION                                C,D                                                  UNKNOWN
2
                                 1615 BROADWAY
                                 SAN ANTONIO, TX 78215


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    Debtor
                  GOLD'S GYM FRANCHISING, LLC
                 _______________________________________________________
                                                                                                                    20-31322
                                                                                               Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if     Deduction for      Unsecured
                                                                                                                partially           value of           claim
                                                                                                                secured             collateral or
                                                                                                                                    setoff

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